
666 S.E.2d 761 (2008)
STATE of North Carolina
v.
Russell Antoine COOPER.
No. 490P07.
Supreme Court of North Carolina.
August 26, 2008.
Charles E. Reece, Assistant Attorney General, C. Colon Willoughby, Jr., District Attorney, for State of NC.
Anthony M. Brannon, Raleigh, for Cooper.
Prior report: 186 N.C.App. 100, 649 S.E.2d 664.

ORDER
Upon consideration of the petition filed by State of NC on the 8th day of October 2007 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th day of August 2008."
Upon consideration of the petition filed on the 8th day of October 2007 by State of NC in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th day of August 2008."
